Case No. 1:13-cr-00392-CMA Document 1-2 filed 09/23/13 USDC Colorado pgiof2 .

DEFENDANT: JOHN J. PAWELSKI

DOB: 1948

ADDRESS:

Colorado Springs, CO 80923

COMPLAINT FILED?

_YES X_NO

OFFENSE: Count 1:

LOCATION OF OFFENSE:

PENALTY: Count 1:

Counts 8-11:

Count 14: |

: Count 16:

18 U.S.C. § 286 - ‘Conspiracy t to File False Claims for
‘Refund
“18-U.S.C. § 287 — False Claim for Refund (Form
1099-OID)
18 U.S.C. § 371 — Conspiracy to Corruptly Endeavor

to Obstruct or Impede the Due
Administration of the. Internal Revenue Laws

-26-U.S.C. § 7212(a) and. 18 U.S.C. §2- Corrupt

Endeavor to Obstruct or Impede the Due.
Administration of the Internal Revenue > Laws and
Aiding and Abetting

ns EI Paso County, Colorado —

NMT 10 years imprisonment; NMT ~
$250,000 fine, or both; NMT 3 years ‘supervised
release; and $100 Special Assessment

NMT_5 years imprisonment; NMT - cos
$250,000 fine, or both; NMT 3 years supervised

' release; and $100 Special Assessment

’ NMT 5 years imprisonment NMT

$250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment

NMT 3 years imprisonment; NMT $5, 000 fine, or
both; NMT 1 year supervised release; and $100
Special Assessment

Special Agent Adam Rutkowski, IRS Cl _

- Special Agent Klaton Knabb, TIGTA
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AUTHORIZED BY: Matthew T. Kirsch, Assistant U.S. Attorney

ESTIMATED TIME.OF TRIAL:
five days or less .
over five days

other

_X

THE GOVERNMENT ~ o
___ will seek detention in this case
X__ will not seek detention in this case

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE: . Yes X__ No |
